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                        Exhibit V
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                             EXHIBIT E
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   1                        UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
   2
   3
   4       WARNER RECORDS, INC.,                     )
                                                     )
   5                      Plaintiff,                 )
                                                     )
   6       v.                                        ) Civil Action No.
                                                     ) 1:19-cv-00874
   7       CHARTER COMMUNICATIONS                    )
           INC.,                                     )
   8                                                 )
                              Defendant.             )
   9
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  17
  18               VIDEOTAPED ZOOM REALTIME DEPOSITION of ARAM
  19      SINNREICH, Ph.D., a Witness, taken on behalf of
  20      the Plaintiffs before Peggy E. Corbett, CSR, CCR,
  21      RDR, pursuant to Notice on the 6th day of
  22      October, 2021, at the office of the witness, 9621
  23      Lorain Avenue, Silver Spring, Maryland 20910.
  24
  25

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   1      analysis that you would need to do to come to the
   2      conclusion of whether or not there was causation
   3      or not, correct?
   4            A.        During that period of time.
   5            Q.        Well, have you done it?               I'm sorry, I
   6      didn't mean to step on your words.                      Have you done
   7      that analysis for any period of time?
   8            A.        Yes.
   9            Q.        Oh, for what period of time have you
  10      done that analysis?
  11            A.        For the period of time preceding the
  12      summer of 2001.
  13            Q.        And can you define that period, please.
  14            A.        From roughly the rise of the consumer
  15      internet in the period of 1995 to '96 through
  16      2001.
  17            Q.        And why did you do that analysis?
  18            A.        I did that analysis as part of my role
  19      as a market analyst at Jupiter Research.
  20            Q.        And you did a comprehensive causation
  21      analysis?
  22            A.        We use a statistical test called
  23      regression analysis to, as a marker of causation,
  24      to examine the relationship between use of file
  25      sharing software and changes in music purchasing

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   1      behaviors.
   2            Q.        But that is -- answers a different
   3      question of whether or not peer-to-peer file
   4      sharing caused a decline in revenues, right?
   5            A.        I'm not sure why you're saying that.
   6            Q.        So you believe that when you -- strike
   7      that.      The regression analysis that you're
   8      referring to was a survey that you did, is that
   9      correct, a consumer survey?
  10            A.        The regression analysis in the Jupiter
  11      report used the data from a series of consumer
  12      surveys.
  13            Q.        Okay.   And do you believe that you can
  14      determine a causation through consumer surveys?
  15            A.        Regression analysis of survey data is
  16      frequently used to establish causation.
  17            Q.        Do you believe that you can use consumer
  18      surveys to determine whether or not peer-to-peer
  19      file sharing resulted in a decline in revenues in
  20      the music industry?
  21            A.        I think it is one useful methodology for
  22      addressing that complex question.
  23            Q.        So in your opinion you point to six
  24      factors that you say may have caused the decline
  25      in the music industry revenues, right?

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   1      analysis of a consumer survey that was done; is
   2      that correct?
   3            A.        Yes.
   4            Q.        Do you have any of the underlying
   5      documents from the survey?
   6            A.        What do you mean by "underlying
   7      documents"?
   8            Q.        Do you have the protocols that were
   9      used?
  10            A.        No.
  11            Q.        Do you have a copy of the survey
  12      instruments?
  13            A.        Partial.
  14            Q.        What do you mean by "partial"?
  15            A.        I have a document that contains some of
  16      the questions that were asked on the survey.
  17            Q.        Do you have a list of all of the
  18      questions?
  19            A.        I don't know.




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   3                         MR. SCHAPIRO:             That's for us to
   4      decide, so we can take that up later.
   5                         MR. OPPENHEIM:             Well, I'm asking
   6      the witness if he has an objection.
   7                         MR. SCHAPIRO:             He's not qualified
   8      to make an objection, unless you're using the
   9      word "objection" to mean something else.




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  18            Q.        Jupiter Communications doesn't exist any
  19      more, does it?
  20            A.        I'm not sure whether --
  21            Q.        Excuse me, it's Jupiter Research.                  I
  22      apologize.         I got the name wrong.              Go ahead.
  23                      Jupiter Research doesn't exist any more,
  24      does it?
  25            A.        Not as a standalone company.

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  18            Q.        Do you have any specialized training in
  19      how to design and administer a consumer survey?
  20            A.        Yes.
  21            Q.        What is that training?
  22            A.        Well, I learned both through an
  23      apprenticeship at Jupiter, and also through
  24      taking quantitative research methods, classes as
  25      a graduate student.

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                                                                        Page 149

    1            Q.        Nor did Amazon's music store, correct?
    2            A.        Amazon, I believe, was selling CDs and
    3      maybe even had already acquired CD Now by that
    4      point, but they were not selling MP3s.
    5            Q.        They were not selling digital downloads,
    6      correct?
    7            A.        To the best of my recollection, they
    8      were not.
    9            Q.        So at the time that you did this survey
  10       there were very few digital download services
  11       being used by consumers, correct?
  12             A.        Digital downloads accounted for a very
  13       small portion of music sales at that period in
  14       time.
  15             Q.        Are you as an expert in this case
  16       claiming that the survey that you conducted in
  17       the year 2000 was still applicable to music
  18       consumers for the period of 2013 to 2016?
  19             A.        I did not cite the survey in my report.
  20       I cited the Jupiter report.
  21             Q.        And the Jupiter report relies in some
  22       measure, some extensive measure on that consumer
  23       survey, correct?
  24             A.        Yes.
  25             Q.        And you cite that Jupiter report I think

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    1            Q.        They didn't add -- the RAA and its
    2      members never asked Jupiter Research to advise it
    3      on any particular issues, did it?
    4            A.        Yes.
    5            Q.        Okay.     What issues did the RAA retain
    6      Jupiter Research to advise it on?
    7            A.        I remember multiple one-on-ones or small
    8      room consulting sessions with RAA members
    9      regarding strategic decision-making around the
  10       digital music space.
  11             Q.        And the RAA actually eventually fired
  12       Jupiter and you because they disagreed with your
  13       conclusions, correct?
  14             A.        I have no idea.
  15                              MR. OPPENHEIM:         Okay.       I have no
  16       further questions.
  17                              MR. SCHAPIRO:         Nor do we.        I'm
  18       happy to go off the record.
  19                              THE VIDEOGRAPHER:              Okay.   This
  20       concludes today's testimony.                    Time on the monitor
  21       7:07 p.m.         We're off the record.
  22                       (Deposition ended at 7:07 p.m.)
  23
  24
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    1                           C E R T I F I C A T E
    2
    3                      I, Peggy E. Corbett, a Certified Court
    4      Reporter of the State of Missouri, do hereby
    5      certify:
    6                      That prior to being examined the witness
    7      was by me duly sworn;
    8                      That said deposition was taken down by
    9      me in shorthand at the time and place
  10       hereinbefore stated and was thereafter reduced to
  11       writing under my direction;
  12                       That I am not a relative or employee or
  13       attorney or counsel of any of the parties, or a
  14       relative or employee of such attorney or counsel,
  15       or financially interested in the action.
  16                       WITNESS my hand and seal this 11th day
  17       of October, 2021.
  18
  19
                                      <%24960,Signature%>
  20                                  PEGGY E. CORBETT,
                                      CCR No. 143, RDR, CRR
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                                    UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLORADO

     WARNER RECORDS INC. (f/k/a/ Warner
     Bros. Records, Inc.), et al.,

                                Plaintiffs,
                                                           Case No. 19-cv-00874-RBJ-MEH
                         v.

     CHARTER COMMUNICATIONS, INC.

                                Defendant.


                      Errata Sheet for the Deposition of Aram Sinnreich (October 6, 2021)

     Page        Line(s)      Now Reads                    Should Read             Reason: 1=clarify
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     10          25           Janea                        Dunia                   3
     34          15           market                       marketing               3
     35          19           what we refer                what you refer          3
     39          7            per bid                      per bit                 3
     43          14           their case                   the case                3
     43          23           forum                        fora                    3
     43          25           merits                       merit                   3
     53          8            de minimus                   de minimis              3
     55          1            work of                      word of                 3
     71          21           income on consumer           income or consumer      3
     74          19           visa-a-vis                   vis-à-vis               3
     78          23           for by sales                 for by singles          3
     88          13           within                       with an                 3
     95          1            interactive                  interacting             3
     95          4            discretant                   discrete                1
     98          9            you question                 your question           3
     116         19           the hard drive               my hard drive           3
     118         6            the larger portion           a larger portion        3
     119         3            piracy summary Crusade       Piracy Crusade          3
     120         12           value on                     value of                3
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     121         2            enumerable                   innumerable             3

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     127         12          Shekler                         Sheckler                     3
     147         20          Lyon                            Bram                         3
     163         8           RAA’s                           RIAA’s                       3
     165         17          perceive                        are perceived                3
     165         18          correspondence                  correspond                   3
     172         16          major artists                   major labels                 1
     174         13          Jamie Thomas Rassin             Jammie Thomas-Rasset         1
     175         1, 3        Tannenbaum                      Tenenbaum                    1
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     186         20          many                            major                        3
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     216         11          the future                      a feature                    3
     225         5           McGame                          The Game                     3
     232         7           exploited with                  exploitative                 3
     244         11          loads                           nodes                        3
     249         15          Adam                            Theda                        3
     249         17          successfulness                  success with it              3
     255-        25-2        the software being in its       “software” in its common     1
     256                     timely usage, where it's        usage, where it’s
                             used primarily with             understood primarily as an
                             words like application          application
     266         21          August                          august                       3
     266         22          anything                        something                    3
     268         13          things                          framings                     3
     270         21          characterizing                  characterize                 3
     279         9           line reviewers                  blind reviewers              3
     285         25          services                        sources                      3
     291         19-20       for reporting industry-         for record industry          3
                             wide abuse                      revenues
     297         2           MWMG's North                    WMG’s North American         3
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     297         15-16       Brittany Spears, the Back       Britney Spears, the          3
                             Street Boys and In Sync         Backstreet Boys and
                                                             ’NSync
     297         18          pockets                         pop hits                     3
     303         9 & 12      MPV                             NPD                          3
     305         18          through                         who                          3

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    Date:         11/9/21                Signature:




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